Case 1:21-cv-02903-JRS-MJD Document 51 Filed 08/03/22 Page 1 of 2 PageID #: 485



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  ZACHARY BINOWITZ,

                         Plaintiff,                 Civil Action No. 1:21-cv-2903-JRS-MJD
          v.

  THE TRUSTEES OF INDIANA
  UNIVERSITY, INDIANA UNIVERSITY
  BLOOMINGTON, LAUREN ROBEL, in
  her individual and official capacity,
  KATHY ADAMS RIESTER, in her
  individual and official capacity, and LIBBY
  SPOTTS, in her individual and official
  capacity,

                         Defendants.



          IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff, Zachary

 Binowitz and Defendants, The Trustees of Indiana University, Indiana University Bloomington,

 Lauren Robel, in her individual and official capacity, Kathy Adams Riester, in her individual and

 official capacity, and Libby Spotts, in her individual and official capacity, by and through their

 undersigned counsel, that the above-captioned action be and is hereby dismissed in its entirety,

 with prejudice, and with no award of attorneys’ fees, costs or disbursements by the Court to any

 party.

                                       NESENOFF & MILTENBERG, LLP
                                            363 Seventh Avenue, Fifth Floor
                                            New York, New York 10001
                                            (212) 736-4500

 Dated: August 3, 2022                 By:      s/ Janine L. Peress
 New York, New York                             Janine L. Peress, Esq.

                                                Attorneys for Plaintiff, Zachary Binowitz
Case 1:21-cv-02903-JRS-MJD Document 51 Filed 08/03/22 Page 2 of 2 PageID #: 486




                                  TAFT STETTINIUS & HOLLISTER, LLP
                                       One Indiana Square, Suite 3500
                                       Indianapolis, Indiana 46204-2023
                                       (317) 713-3500

 Dated: August 3, 2022            By:   s/ Tracy Betz
 Indianapolis, Indiana                  Tracy Betz, Atty. No. 24800-53

                                        Attorneys for Defendants, The Trustees of Indiana
                                        University, Indiana University Bloomington, Laurel
                                        Robel, Kathy Adams Riester, and Libby Spotts




 It is SO ORDERED this


 _____ day of ___________, 2022


 _____________________________
 Hon. ____________, U.S.D.J.
